Case 4:12-cr-00001-JPJ Document 329 Filed 01/19/16 Page 1 of 3 Pageid#: 1374
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                     UNITED STATES DISTRICT COURT              JULIA C.DUDLEM CL RK
                    WESTERN DISTRICT of VIRGINIA
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UNITED STATES of AMRDICA
                                         Case No . 4:12-CR -00001-JLKaRSB

                                                MOTION FOR 3582(c)(2) RELTEF


Quentin Dwayne MpNebb                     Honorable Judge
     Defendant                            Jackson Kiser




            Pro Se Motion for Modification of Sentence
                  Pursuant To 18 U.S.C. 5 3582(c)(2)
                ( Retroactive Guideline Amendment 782 )




     I hereby respectfully request a modification or reduction

of my sentence pursuant to 18 U.S.C 5 3582(c)(2) and the new
guideline amendment 782 to the United states Sentencing Guide,

which make a reduction in the base offense level for most drug

offenses retroactive as of November 1, 2014.



     On April       2014, the United States Sentencing Commission

submitted to congress an amendment to the sentencing guidelines

that reduces the guidelines applicable to the drug-trafficking

offenses. The amendment reduces by two levels assigned in the

drug quantity table ( U.S.S.G. 5 2D1.1), resulting in lower
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guideline ranges for the most drug trafficking offenses . The

amendment took effect on November 1, 2014.




     On July 18, 2014, the sentencing commission voted to apply
the amendment retroactively . The commission did so by voting

to add the amendment to the list of amendments in U .S.S .G .

5 1B1.10 ( Reduction in term of Imprisonment as a result of
amendment Guideline range ( Policy Statement ) that may be
applied retroactively.




     Accordingly , Mr. McNebb now respectfully moves for a reduction

of his sentence under the 2014 Drug Amendment Pursuant to 18 U .S .C

5 3582(c)(2) and ask that this court issue an amendment judgment in
a appropriate sentencing .



         In support of my motion , I state the following


   I am currently serving a federal term of împrisonment .

2. My sentence was based     at least in part on drugs.
3. I was sentence in the Western District of Virginia by Judge

   Jackson Kiser on Feb 19, 2013, to the term of 240 months in prison.

   My projected release date is 8-24-2029.
   I hereby request this court to grant a two level reduction in

   my sentence pursuant to the New 782 Amendment or whatever this
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court suggest is just and proper.



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             hereby certify that a true a correct copy of the forgoing

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